
719 S.E.2d 29 (2011)
STATE
v.
Marcus Douglas JONES.
No. 22A02-2.
Supreme Court of North Carolina.
November 23, 2011.
Elizabeth Hambourger Koch, for Jones, Marcus Douglas Sr.
L. Michael Dodd, Special Deputy Attorney General, for State of N.C.
Shelagh Kenney, Durham, for Jones, Marcus Douglas Sr.
Ernie Lee, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 17th of November 2011 by Defendant for Stay of Proceeding:
"Motion Denied by order of the Court in conference, this the 23rd of November 2011."
